                                                                                                        Case 2:20-cv-01595-SPL Document 31 Filed 07/26/21 Page 1 of 2



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                                                                                                  Noel Hendrix
                                                                                              8
                                                                                                                            UNITED STATES DISTRICT COURT
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                                                                                             10                                   DISTRICT OF ARIZONA

                                                                                             11   Noel Hendrix, Individually and on Behalf           Case No. 2:20-CV-01595-SPL
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                                                                                                  of All Others Similarly Situated,
                                                                                             12
                                                                                             13                         Plaintiffs,
                                                                                                                                                   STIPULATION OF DISMISSAL
                                                                                             14           v.
                                                                                             15   Chipotle Mexican Grill, Inc., a Delaware
                                                                                                  Corporation,                                  (Assigned to the Hon. Steven P. Logan)
                                                                                             16
                                                                                             17                         Defendants.
                                                                                             18
                                                                                             19            The parties hereby stipulate to the dismissal with prejudice of the above-captioned
                                                                                             20
                                                                                                  lawsuit, each side to bear their own costs and fees. A Proposed Order has been submitted
                                                                                             21
                                                                                                  herein for the Court’s convenience.
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                                                                                              1          RESPECTFULLY SUBMITTED July 26, 2021.
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                                                                                                                                            ZOLDAN LAW GROUP, PLLC
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                                                                                             12                                CERTIFICATE OF SERVICE
                                                                                             13
                                                                                                  I hereby certify that on July 26, 2021, I electronically transmitted the foregoing document
                                                                                             14   to the United States District Court, District of Arizona, Court Clerk, using the CM/ECF
                                                                                                  System. All counsel of record are registrants and are therefore served via this filing and
                                                                                             15
                                                                                                  transmittal.
                                                                                             16
                                                                                                  /s/ Ashley Peschke
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